                                                                              Case 2:21-cv-00389-KJD-DJA Document 29 Filed 10/01/21 Page 1 of 2



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                                                                              Attorney for Plaintiff
                                                                          6

                                                                          7                                  UNITED STATES DISTRICT COURT

                                                                          8                                         DISTRICT OF NEVADA

                                                                          9   JOSE M. CARRION CASILLAS, an individual;                  Case No.: 2:21-cv-00389-KJD-DJA
                                                                         10                                        Plaintiff;
                                                                         11         v.
Law Office of Kevin L. Hernandez




                                                                         12
                                                                              ALLY FINANCIAL, INC., a foreign corporation;                    ____________________
                               TEL: (702) 563-4450 FAX: (702) 552-0408




                                                                                                                                               STIPULATION AND ORDER FOR
                                 8920 W. Tropicana Avenue, Suite 101




                                                                         13   EQUIFAX INFORMATION SERVICES, LLC, a                               DISMISSAL OF DEFENDANT
                                                                              foreign limited-liability company; EXPERIAN                       ALLY FINANCIAL, INC. WITH
                                       Las Vegas, Nevada 89147




                                                                         14   INFORMATION SOLUTIONS, INC., a foreign                                     PREJUDICE
                                                                              corporation; TRANS UNION LLC, a foreign
                                                                         15   limited-liability company;
                                                                         16                              Defendants.
                                                                         17              Plaintiff, Jose M. Carrion Casillas (“Plaintiff”), and Defendant, Ally Financial, Inc.
                                                                         18   (“Ally”) (the “Parties”) have resolved all claims, disputes, and differences between the Parties.
                                                                         19              Therefore, the Parties, by and through their respective attorneys of record, and subject to
                                                                         20   the Court’s approval, respectfully request dismissal of the above-captioned matter with prejudice
                                                                         21   ///
                                                                         22   ///
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                                                                         24   ///
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                                                                         27   ///
                                                                         28   ///

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                                                                          1   under FRCP 41(a) as to Ally, with Plaintiff and Ally bearing their own attorneys’ fees and costs

                                                                          2   incurred in this action.

                                                                          3   Respectfully Submitted.

                                                                          4
                                                                               Dated: September 28, 2021                      Dated: September 28, 2021
                                                                          5
                                                                               LAW OFFICE OF                                  TROUTMAN PEPPER
                                                                          6    KEVIN L. HERNANDEZ                             HAMILTON SANDERS LLP
                                                                                                                              /s/ Kevin F. Kieffer
                                                                          7    /s/ Kevin L. Hernandez                         Kevin F. Kieffer, Esq.
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                                                                               kevin@kevinhernandezlaw.com
                                                                         10    Attorney for Plaintiff                         Gary E. Schnitzer, Esq.
                                                                                                                              Nevada Bar No. 395
                                                                         11    Dated: September 28, 2021                      KRAVITZ, SCHNITZER, JOHNSON,
Law Office of Kevin L. Hernandez




                                                                                                                              WATSON & ZEPPENFELD, CHTD.
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                                                                         13    /s/ Jennifer L. Braster                        gschnitzer@ksjattorneys.com
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                                                                         16                                                   IT IS SO ORDERED:
                                                                               Katherine A. Neben
                                                                         17    Nevada Bar No. 14590
                                                                               JONES DAY                                      ____________________________________
                                                                         18    3161 Michelson Drive, Suite 800                UNITED STATES DISTRICT JUDGE
                                                                               Irvine, California 92612
                                                                         19    kneben@jonesday.com
                                                                               Attorneys for Defendant Experian                        10/1/2021
                                                                                                                              DATED: ____________________________
                                                                         20    Information Solutions, Inc.
                                                                         21
                                                                               Dated: September 28, 2021
                                                                         22
                                                                               QUILLING SELANDER LOWNDS
                                                                         23    WINSLETT & MOSER, P.C.
                                                                               /s/ Jennifer Bergh
                                                                         24    Jennifer Bergh, Esq.
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                                                                         27

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